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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                Holding a Criminal Term
                            Grand Jury Sworn in on May 3, 2018


UNITED STATES OF AMERICA                             : CRIMINAL NO.
                                                     :
                v.                                   : Grand Jury Original
                                                     :
                                                     : 18 U.S.C. § 1001(a)(1) (False
                                                     : Statements)
GLEN OMER VIAU,                                      :
                                                     :
                  Defendant.                         :
__________________________________________


                                        INDICTMENT

     The Grand Jury charges that:

     Unless otherwise specified, at all times material to this Indictment:

             1. Defendant GLEN OMER VIAU (“VIAU” or “Defendant VIAU”) was a Canadian

citizen who was employed by COMPANY 1, a United States-based company under contract to

develop technology for the U.S. Navy, from in or around 1992 until in or around 2011. At the

time of his resignation in or around 2011, VIAU held the title of Chief Operating Officer. VIAU

was re-hired as President of COMPANY 1 shortly after COMPANY 1 was acquired by BEIJING

COMPANY on or about September 26, 2016. As part of the integration plan for the companies,

VIAU was to report directly to BEIJING COMPANY’s Chief Executive Officer in the People’s

Republic of China (“China” or “PRC”).

       2.    Between in or around 1992 until in or around 2011, COMPANY 1 was privately-held

and headquartered in Houston, Texas, with a wholly owned Canadian subsidiary, called

“[COMPANY 1] International Corporation.” The U.S. Navy selected COMPANY 1 as the prime


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contractor for the design, construction, and testing of numerous Submarine Rescue Diving

Recompression System (“SRDRS”) elements. The SRDRS was designed to assist crewmembers

in distressed submarines. The contract scope of work for COMPANY 1 included the Pressurized

Rescue Module (“PRM”) System (“PRMS”) (submarine rescue vehicle “FALCON”). The PRMS,

along with other elements, formed the U.S. Navy’s comprehensive SRDRS Rescue Capable

System (“RCS”).

       3.    The PRM was a tethered, remotely operated rescue vehicle (“RORV”). It contained a

transfer skirt that could be used to dock the PRM with the distressed submarine. The PRMS

included other elements such as an umbilical winch and a deck cradle. The PRMS could carry up

to eighteen personnel rescued from a distressed submarine. COMPANY 1 initially developed the

PRMS Falcon and modified it to meet U.S. Navy specifications prior to delivery to the U.S. Navy

in or around 2007 or 2008. Since that time, COMPANY 1 has been involved in the ongoing

support for the U.S. Navy’s submarine rescue operators. Also since that time, the U.S. Navy has

requested and paid COMPANY 1 for extensive technical modifications detailed on numerous

technical documents. The approximate cost of these modifications has been over $1 million.

       4.    BEIJING COMPANY is a company based in mainland China. COMPANY 1 was

sold to BEIJING COMPANY through a structured scheme using several front companies that

made it appear as if BEIJING COMPANY were acquiring a solely Canadian company. In or

around September and October 2016, COMPANY 1’s shares were sold to BEIJING COMPANY

for $15 million USD (via a company called “[COMPANY 1] Holding Co. Ltd”). For an additional

$5 million USD, BEIJING COMPANY acquired COMPANY 1’s intellectual property associated

with submarine rescue technology (collectively, “the Transaction”).

       5.    The PRC’s naval force was known as the People’s Liberation Army (“PLA”) Navy.



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       6.    Canadian Commercial Corporation (“CCC”) was a Canadian Government-owned

enterprise that supported Canadian foreign trade.

       7.    The Investment Review Division (“IRD”) was a Canadian government agency that

reviewed foreign investments in Canadian businesses when the investments exceeded the

applicable financial thresholds. On or about May 16, 2017, the IRD provided COMPANY 1 with

an Order (the “IRD Order”) that ordered the divestment by BEIJING COMPANY and the holding

company of all COMPANY 1 assets. The IRD Order stated that BEIJING COMPANY could not

“access COMPANY 1’s know-how, trade secrets or confidential information used to carry on the

Canadian business, including its premises and electronic information and technology systems.”

       8.    The China State Shipbuilding Corporation (“CSSC”) was owned and operated by the

PRC; it built military and civilian naval vessels.

       9.    PERSON 1 was a COMPANY 1 engineer rehired in 2017 by VIAU to assist BEIJING

COMPANY with a SRV proposal to the PLA Navy.

       10. PERSON 2 was a COMPANY 1 mechanical engineer who assisted PERSON 1 and

BEIJING COMPANY with its PLA Navy SRV proposal.

       11. PERSON 3 was a COMPANY 1 mechanical engineer and design supervisor who

assisted PERSON 1 and BEIJING COMPANY with its PLA Navy SRV proposal.

       12. PERSON 4 was BEIJING COMPANY’s Deputy General Manager for its “Military

Business Unit.” PERSON 4’s operations were based in China.

       13. PERSON 5 was a manager and/or engineer with BEIJING COMPANY.

       14. PERSON 6 apparently worked for both COMPANY 1 and BEIJING COMPANY.




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                  Formal Disclosures to the U.S. Department of Commerce

       15. The Bureau of Industry and Security (“BIS”) is an agency within the U.S. Department

of Commerce (“DOC”), charged with the development, implementation, and enforcement of

export controls for commercial and military technologies. The Office of Export Enforcement

(“OEE”) is an office within BIS and, among other duties, protects national security, foreign policy,

and economic interests by investigating violations and violators of export control laws, including

the Export Administration Regulations (“EAR”). Licensing officials at BIS provide evaluation

and processing of licenses for proposed export and re-export of goods and technology from the

United States. A key factor in determining whether an export license is needed is whether the item

to be exported has been designated by a specific Export Control Classification Number (“ECCN”),

which would appear in the Commerce Control List (“CCL”). For national security reasons,

categories on the CCL may require a license before sending the item, or the technology restricting

exports to certain countries, including China.

       16. COMPANY 1’s PRM had an ECCN listing of 8A620.a, which required a license to

any end-user in China. License applications for 600-series products like the PRM that are intended

for export to China are generally denied for national security reasons by BIS. Further, technical

data associated with the PRM would fall under 8E620.a which would also require a license to be

exported to any end user in China. Technical data transfers include data transferred by email. The

failure to obtain a required license prior to an export is a violation of the EAR. BIS has determined

that a license to export the PRM technology or technical data was neither applied for nor granted.

       17. BIS encourages fulsome disclosure to OEE by individuals and companies who may

believe they have violated the EAR, and self-disclosure is a mitigating factor in determining what

administrative sanctions OEE may seek. 15 C.F.R. § 764.5(a). According to the Code of Federal



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Regulations, parties should make an initial notification and a thorough review should be conducted

afterwards of all export-related transactions where possible violations are suspected. 15 C.F.R. §

764.5(c)(3). The regulations recommend that the review cover a period of five years prior to the

date of the initial notification. 15 C.F.R. § 764.5(c)(3). The narrative account should include a

description of any mitigating circumstances. 15 C.F.R. § 764.5(c)(3)(vi). Each party must certify

that all the representations made in connection with the disclosure are true and correct to the best

of that party’s knowledge and belief. 15 C.F.R. § 764.5(c)(5). This provision cross-references 15

C.F.R. § 764.2(g), which prohibits the making of a false or misleading representation, statement,

or certification, or the falsifying or concealing of any material fact to BIS in the course of an

investigation or other action subject to the EAR. Voluntary disclosures are made to the Director

of OEE, which is located in Washington, D.C.

                                          COUNT ONE

     (Scheme to Falsify, Conceal, and Cover up Material Facts from the Department of
                        Commerce’s Office of Export Enforcement)

       18. The allegations set forth in paragraphs one through 17 of this Indictment are

incorporated herein by reference as if fully stated herein.

       19. From in or around October 2016 to in or around March 2018, in the District of

Columbia and elsewhere, in a matter within the jurisdiction of the Executive Branch of the

government of the United States, Defendant VIAU knowingly and willfully falsified, concealed,

and covered up by a trick, scheme, and device a material fact, in that Defendant VIAU intended to

and did misrepresent and conceal, to and from OEE, the true nature and extent of the transfer of

U.S. Navy PRM technical data to China.




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                               PURPOSE OF THE SCHEME

       20. It was a purpose of the scheme for Defendant VIAU to conceal from OEE information

concerning VIAU’s and COMPANY 1’s provision of U.S. Navy PRM technical data to BEIJING

COMPANY in China to be used in a proposal for the PLA Navy, in order to avoid further U.S.

Government scrutiny of COMPANY 1 and VIAU’s actions, to permit VIAU and COMPANY 1

to gain U.S. Department of Defense contracts, as well as to profit on work for the PLA Navy.

                                  MANNER AND MEANS

       21. The manner and means included the following:

       22. Defendant VIAU represented to the U.S. Navy that, despite the sale of COMPANY

1 to BEIJING COMPANY, COMPANY 1 would “abid[e] with all export licenses,” “continue to

operate as an independent company,” and protect U.S. Navy information.

       23. After making the representations in paragraph 22, Defendant VIAU, while in China,

requested and received access to COMPANY 1’s electronic files related to the U.S. Navy PRM

system.

       24. Also after making the representations in paragraph 22, Defendant VIAU presented to

BEIJING COMPANY a strategy for the “Chinese RORV Project” that offered to provide detailed

information about COMPANY 1’s work for the U.S. Navy. Defendant VIAU later represented to

BEIJING COMPANY that the estimated cost of building each RORV was approximately $20.5

million USD.

       25. Also after making the representations in paragraph 22, Defendant VIAU did in fact

send, and cause to be sent, export-restricted U.S. Navy PRM technical data to China.

       26. Only after the Canadian government ordered that BEIJING COMPANY divest itself

of COMPANY 1’s assets did Defendant VIAU notify OEE, via an Initial Notification, that



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COMPANY 1 had transferred a hard drive containing U.S. Navy PRM technical data (the “Hard

Drive”) to a Chinese national, who had hand-carried the Hard Drive to China.           VIAU

acknowledged that this export of technical data had required a license, and claimed that

COMPANY 1 was “reviewing these apparent violations.” At no time did Defendant VIAU inform

OEE that VIAU himself had sent U.S. Navy PRM technical data to China, or that other

COMPANY 1 employees had sent such data to be used in a PLA Navy proposal, thereby materially

misleading OEE.

       27. Approximately six months after the Initial Notification, Defendant VIAU submitted

to OEE what VIAU characterized as a “Voluntary Self Disclosure” (the “VSD”) that purported to

explain how any transfers of U.S. Navy PRM technical data had occurred and how COMPANY 1

had attempted to mitigate any compromise caused by the export violations.

       28. In the VSD, Defendant VIAU falsely stated that COMPANY 1’s only export violation

concerned the Hard Drive.

       29. Also in the VSD, Defendant VIAU falsely represented that BEIJING COMPANY had

no use for the U.S. Navy PRM technical data and falsely maintained that COMPANY 1 and

BEIJING COMPANY had complied with the Canadian government IRD Order, in order to protect

VIAU and COMPANY 1 from further review by OEE, and to convince OEE that all export

violations had been mitigated through the return of the Hard Drive.

                              EXECUTION OF THE SCHEME

       30. In furtherance of the scheme, and to accomplish its purpose, Defendant VIAU and

others known and unknown to the Grand Jury, committed or caused the following acts, among

others, in the District of Columbia and elsewhere.




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       A. Defendant VIAU Informed the U.S. Navy about the Sale of Company 1 to
          BEIJING COMPANY and Claimed that U.S. Navy Information Would Be
          Protected.

       31. On or about October 5, 2016, Defendant VIAU represented to the U.S. Navy that,

although COMPANY 1 was now owned by BEIJING COMPANY, COMPANY 1 would be

“abiding with all export licenses.”

       32. On or about October 11, 2016, after learning that CCC was demanding that

COMPANY 1 inform CCC and the U.S. Navy of any change in ownership of COMPANY 1 by a

Chinese company, Defendant VIAU sent a notification letter to the U.S. Navy and CCC about

COMPANY 1’s change of ownership.

       33. On or about October 11, 2017, Defendant VIAU informed the U.S. Navy that

COMPANY 1 would “continue to operate as an independent company” and would “remain

committed” to “our US Navy client.”

       34. On or about October 12, 2016, Defendant VIAU informed U.S. Navy personnel that

COMPANY 1 still maintained a security program and that there was a security plan approved by

the Canadian Government so that the U.S. Navy information would be firewalled from the new

Chinese ownership. Defendant VIAU further assured U.S. Navy personnel that all COMPANY

1’s employees were Canadian nationals, that Chinese nationals would not be at COMPANY 1’s

facility, that Chinese nationals would not be working with U.S. Navy information, and that the

U.S. Navy information would be protected.

       B. While the U.S. Navy Investigated the Transaction, VIAU, COMPANY 1, and
          BEIJING COMPANY Created a PRMS-Based Proposal for the PLA Navy.

       35. On or about November 7, 2016, after receiving a stop-work order issued to

COMPANY 1 by the U.S. Navy that expressed the U.S. Navy’s concerns about Chinese ownership




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of COMPANY 1, Defendant VIAU, while in China, requested, “ASAP,” unrestricted remote

access to files on COMPANY 1’s computer server related to the U.S. Navy PRM system.

       36. On or about November 16, 2016, Defendant VIAU emailed to BEIJING COMPANY

a presentation titled “[BEIJING COMPANY] BoD [Basis of Design] discussion 16 Nov 2016.”

The presentation suggested a strategy for an option to proceed on the RORV for China. The

strategy offered to provide detailed information about the work COMPANY 1 did for the U.S.

Navy project. It further noted that BEIJING COMPANY “can work parallel path on CSSC

option.” It further noted that COMPANY 1 would need to apply for an export permit “to export

the system design & components to China. This will take 6-8 weeks. Preferably we won’t start

this until after the US Navy contracting issue is resolved. Perception management is important.”

       C. Defendant VIAU Sent, and Caused to Be Sent, U.S. Navy PRM Technical Data to
          China.

       37. On or about November 18, 2016, in response to a request from BEIJING COMPANY

for information related to COMPANY 1’s work for the U.S. Navy, and to assist BEIJING

COMPANY in its SRV presentation to the PLA Navy, Defendant VIAU emailed to BEIJING

COMPANY management a 34-page PDF document titled “[COMPANY 1] Rescue System

Experience.” The subject line of the email was titled “Chinese SRV Project.” Some of the

information contained in this document concerned the U.S. Navy PRM transfer skirt. Defendant

VIAU proclaimed that the attached presentation would be a good start for the upcoming discussion.

Defendant VIAU, believing that he was sending information to China, further advised, “[H]ere is

a [brand name file hosting service] link which will allow you to download the ppt [power point]

file. I am not sure if [brand name file hosting service] is blocked in China so I may try to send by

email (14MB) as well.”




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       38. On or about November 24, 2016, PERSON 4 emailed PERSON 5 and Defendant

VIAU, stating “[regarding the service for PRMS . . ., is there a contract or agreement? If so, we

need to check for reference. You know we are struggling for Chinese SRV project and any

information of PRMS would be referenced.”

       39. Between on or about February 5, 2017, and on or about February 20, 2017, Defendant

VIAU sent PERSON 1 to China in order to assist BEIJING COMPANY with a proposal to build

an SRV for the PLA Navy.

       40. On or about February 2, 2017, Defendant VIAU emailed to PERSON 1, PERSON 2,

and PERSON 3 an invitation to meet about “China Rescue System Discussion, Info Sharing.”

       41. On or about February 6, 2017, PERSON 1 emailed PERSON 3, PERSON 2, and

Defendant VIAU. The subject line of the email was “Chinese System Requirements,” and attached

was a word document titled “Chinese Navy Requirements.” The document referred to the

requirements for an RORV rescue system and requested that the recipients provide information

for the proposed Chinese system in preparation for a BEIJING COMPANY presentation at the end

of the month to the PLA Navy.

       42. On or about February 8, 2017, PERSON 3 sent an email to PERSON 1, PERSON 2,

and Defendant VIAU. The subject line of the email was “Chinese RORV Advantages,” and

attached to the email was a document containing a table comparing the surveillance systems of the

U.S. Navy’s PRM to the Chinese RORV. PERSON 3 stated in the email’s text, “Here is what I

have so far. PRM info is taken from drawings. Chinese RORV info is taken from the RAN [Royal

Australian Navy] proposal. My next step is to add the specifications.”

       43. On or about February 13, 2017, PERSON 1 emailed PERSON 2, PERSON 3 and

Defendant VIAU the following information:



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               As you know, [BEIJING COMPANY] is putting together a
               comprehensive document on the RORV for the Chinese Navy. The
               intent is to present it to the Navy next week, therefore they need time
               for translation, review, and consolidation. In order to complete the
               work on time, I need complete content for sections 4.2 to 4.8 below
               from Canada by COB Wednesday night Vancouver time. I need
               something for every section, so please scale the scope of the work
               so that all areas are adequately covered. I will need half of the items
               by COB Tuesday, and the other half by COB Wednesday. Most, if
               not all, of it could be developed by regurgitating requirements from
               the PRMS SOW and other documents…

PERSON 1 requested content related to numerous technical designs, such as, but not limited to,

angles, speeds, capabilities, system life, and temperatures.

       44. On or about February 14, 2017, in response to an urgent request for resumes for

COMPANY 1 experts in the SRV systems, “focused on PRMS or other SRV project experience,”

VIAU emailed PERSON 4, PERSON 1, PERSON 5, and PERSON 6 several resumes that included

those of COMPANY 1 engineers.

       45. On or about February 15, 2017, in response to a request from BEIJING COMPANY’s

Deputy General Manager for the Military Business Unit, Defendant VIAU sent to BEIJING

COMPANY’s management, including its President, the following information:

               Attached here is a cost breakdown. For the RORV, Control Van,
               Umbilical Winch & Umbilical. These costs are in US dollars.

               These numbers are realistic but do not include any assumptions
               about additional costs or potential costs savings related to building
               or assembling the system in China.

               Also there are no costs included for training, installation on a vessel,
               operating spares, or sea trials. We would need more specifics about
               the project in order to estimate those items.

               Please let me know if you have any questions or would like
               additional detail. If you like we can have a [Chinese multi-purpose
               messaging application] call together with [PERSON 1] at 9am
               Beijing time.



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Defendant VIAU attached to the email a spreadsheet showing that the cost estimate of building

the RORV was approximately $20.5 million USD per rescue vehicle.

       46. On or about February 15, 2017, PERSON 1 told Defendant VIAU that the proposal to the

PLA Navy would include U.S. Navy specifications. PERSON 1 further informed Defendant VIAU that

BEIJING COMPANY was looking to accommodate the PLA NAVY’s LARS, deck cradles, and other

infrastructure in convincing the PLA NAVY to buy BEIJING COMPANY’s RORVs. PERSON 1 further

stated to Defendant VIAU “Will keep you up to date on how this develops. Chinese Navy is in a meeting

in the next room.” PERSON 1 further stated to Defendant VIAU and PERSON 2, as to whether BEIJING

COMPANY could accommodate the PLA NAVY’s existing structures for its RORVs, that

       we need some high level ICD dimensions. Below is a list. All of this should be
       readily available on PRM ICD [Interface Control Document] drawings or GA’s
       [General Arrangement Drawings]. Their LARS and deck cradles are very big, so
       this may actually be a possibility.

       47. On or about February 16, 2017, in response to a request from PERSON 1, PERSON 2

emailed PERSON 1 and copied Defendant VIAU and PERSON 3. PERSON 2 attached six

documents to the email. Three of the enclosed multi-page technical drawings later were identified

by the DOC as being controlled for export under ECCN 8E620.a. Two of the three documents had

a U.S. Government/U.S. Navy Distribution Statement indicating that distribution was “authorized

to U.S. Government agencies only.”

       D. Defendant VIAU Provided False and Misleading Responses to Questions Posed by
          the U.S. Navy.

       48. On or about February 17, 2017, VIAU emailed the U.S. Navy in response to questions

posed by the U.S. Navy:

                       U.S. Navy Question: What access does the now Chinese
               parent company or any Chinese Nationals have to [COMPANY 1]
               technology, IP, technical manuals/data?

                      VIAU Response: [COMPANY 1] continues to operate as an
               independent Canadian company and release of [COMPANY 1]

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    technology, IP, technical manuals/data is controlled by Canadian
    export regulations to the extent that [COMPANY 1] products and
    data are subject to export controls. There are no Chinese Nationals
    currently employed by [COMPANY 1].

           U.S. Navy Question: What access does the now Chinese
    parent company or any Chinese Nationals have to technology,
    technical manuals/data, government furnished information, U.S.
    Naval specifications and standards and any other documentation,
    information, and/or systems which were provided to [COMPANY
    1] under a U.S. Government contract in the execution of its duties
    and responsibilities to perform?

            VIAU Response: [COMPANY 1] handles data from any
    customer in accordance with the applicable data rights, distribution
    statements or confidentiality requirements. Restrictions on release
    apply to the parent company/shareholder just as they would to any
    third party. As previously noted there are no Chinese Nationals
    currently employed by [COMPANY] 1. Also there have been no
    special security requirements associated with the US Government
    work that [COMPANY 1] has been involved with however
    [COMPANY 1] is open to putting in place additional data
    segregation and control procedures if the Government believes that
    additional measures are warranted to protect confidential
    information. In addition [COMPANY 1] has a Canadian
    Government Industrial Security program in place with a designated
    company security officer and associated security clearances for
    designated personnel. [COMPANY 1] has never been involved in
    U.S. Government work that requires security clearances.

             U.S. Navy Question: Does [BEIJING COMPANY] have any
    affiliation with or do business with the PLA Navy?

            VIAU Response: [BEIJING COMPANY] is not affiliated
    with the PLA Navy. [BEIJING COMPANY's products are dual use
    in the sense that they can be used on civil and military vessels. The
    products [BEIJING COMPANY] supplies are not sensitive from a
    military or defense perspective. [BEIJING COMPANY] has never
    had any contract directly with the PLA Navy. It is, however, a
    subcontractor to ship building companies that serve the PLA Navy.




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          E. BEIJING COMPANY Completed Presentation; VIAU Learned of U.S. Navy’s
             Termination of COMPANY 1’s Contracts.

          49. On or about February 21, 2017 PERSON 1 emailed PERSON 3, Defendant VIAU,

and PERSON 2 that the report and presentation for the PLA Navy was “pretty well complete,”

“just [needs] some polishing today by some of the [BEIJING COMPANY] team.”

          50. On or about February 28, 2017, Defendant VIAU emailed PERSON 1 an invitation

for a debrief on the “China Sub Rescue.”

          51. On or about March 29, 2017, after learning on or about March 28, 2017, that the U.S.

U.S. Navy had terminated its contracts with COMPANY 1, Defendant VIAU emailed the U.S.

Navy’s termination notice to PERSON 6 and BEIJING COMPANY representatives. The notice

stated:

                 [COMPANY 1] has always been aware of the sensitivity of the
                 Submarine Rescue Diving and Recompression System (SRDRS)
                 under USML and/or CCL. The SRDRS is controlled under the CCL
                 600 series. The Department of Commerce issued a formal
                 determination that the Pressurized Rescue Module (PRM) is
                 classified under ECCN 8A620.A.

          F. Defendant VIAU Filed Materially False and Misleading Initial Notification.

          52. On or about September 27, 2017, after learning of the March 28, 2017 U.S. Navy

termination notice, and the May 16, 2017 Canadian IRD Order requiring that BEIJING

COMPANY and the holding company divest themselves of their investment in COMPANY 1’s

assets, Defendant VIAU, on behalf of COMPANY 1, filed the Initial Notification with OEE.

          53. In the Initial Notification, Defendant VIAU advised OEE that, on September 28, 2016,

COMPANY 1 had provided the Hard Drive containing COMPANY 1 intellectual property

(“IP”)—including U.S. Navy PRM technical data—to a Chinese national, who then had hand-

carried the Hard Drive to China. Defendant VIAU further admitted that COMPANY 1 had



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discovered that the PRMS was controlled under ECCN 8A620.a. Defendant VIAU claimed that

COMPANY 1 and BEIJING COMPANY “now understand” that the exports of U.S. Navy PRM

technical data had required a license. Defendant VIAU vowed that COMPANY 1 was “currently

reviewing these apparent unintentional violations.” Defendant VIAU falsely and misleadingly

stated that BEIJING COMPANY “did not have plans to use the IP stored on the hard drive for any

specific purpose.”

       G. Defendant VIAU Made Materially False and Misleading Statements to OEE in
          the VSD.

       54. On or about March 26, 2018, Defendant VIAU submitted the VSD, which disclosed

violations related to the transfer of COMPANY 1’s assets, including IP, to BEIJING COMPANY,

as well as the export of IP (including the U.S. Navy PRM technical data) to China, which export

required a license from DOC. The VSD misleadingly disclosed information only concerning the

Hard Drive and failed to disclose VIAU’s own transfer of U.S. Navy PRM technical data to China.

       55. In the VSD, Defendant VIAU informed OEE that BEIJING COMPANY and

COMPANY 1 had identified an unauthorized export of controlled U.S. Navy technical data as part

of the transfer of IP to BEIJING COMPANY. The VSD explained that the export had taken place

in Canada to a BEIJING COMPANY representative, who was a national of China. VIAU also

confessed to a second physical export of that same technical data from Canada to China.

Defendant VIAU admitted in the VSD that the U.S. Navy PRM technical data was designated

under ECCN 8E620.

       56. Defendant VIAU, however, falsely attested that the U.S. Navy PRM technical data,

along with “all other COMPANY 1 [IP],” was returned in good faith to COMPANY 1 in Canada

approximately eight months after the initial export and that the technical data had “not been the

subject of further reexports.”


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       57. Defendant VIAU also misleadingly stated to OEE that BEIJING COMPANY

“develops advanced navigation and communications systems for the marine industry” and

materially omitted that BEIJING COMPANY sought to enter the SRV industry and, in fact, that

COMPANY 1 had assisted BEIJING COMPANY with a proposal for an SRV for the PLA Navy.

       58. Defendant VIAU specifically admitted in the VSD that, after the sale of COMPANY

1 had been completed, on September 28, 2016, COMPANY 1 had hand-delivered, in Canada, the

Hard Drive containing the U.S. Navy PRM technical data to a representative of BEIJING

COMPANY. Defendant VIAU further admitted that the Hard Drive was then hand-carried from

Canada to China.

       59. Defendant VIAU admitted that, in the course of the Compliance Review, COMPANY

1 had determined that the Hard Drive contained technical data subject to the EAR, and that the

U.S. Navy PRM technical data had been transferred to BEIJING COMPANY without

authorization. Defendant VIAU misleadingly asserted, however, that “[n]o other violations” were

“identified during the course of the Compliance Review,” materially omitting that he personally

had participated in transfers of U.S. Navy PRM technical data to BEIJING COMPANY.

       60. Defendant VIAU further misled OEE that, during the course of the Compliance

Review, BEIJING COMPANY had affirmed that the Hard Drive, which contained the U.S. Navy

PRM technical data, had never been accessed or operated by or on behalf of BEIJING COMPANY,

when VIAU had participated in other transfers of U.S. Navy PRM technical data to BEIJING

COMPANY, which BEIJING COMPANY accessed for its proposal to the PLA Navy.

       61. In the VSD, Defendant VIAU falsely stated, “[BEIJING COMPANY] never had any

independent use for [COMPANY 1’s] intellectual property.” Similarly, Defendant VIAU falsely

stated that, because the PRMS Falcon was delivered in 2008 to adhere to specific standards of the



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U.S. Navy’s Deep Submergence Unit, this delivery “render[ed] the specific design unhelpful for

use in any other contexts.” Defendant VIAU falsely stated that [COMPANY 1] was accustomed

to managing compliance with commodities and technology subject to relatively few trade

restrictions, “as opposed to the . . . PRMS Falcon that had not been handled by the company for

years.”

          62. In the VSD, VIAU claimed that the U.S. Navy PRM technical data was never

accessed. VIAU falsely stated that “there would have been no reason to access controlled

technology . . .related to the PRMS Falcon, which was never reproduced and was delivered in 2008

to comply with the technical rescue specifications of the U.S. Navy.” VIAU further falsely claimed

that BEIJING COMPANY and COMPANY 1 had “fully complied with the IRD Order.” VIAU

also materially misled OEE by stating that BEIJING COMPANY had no need or motivation for

the U.S. Navy PRM technical data, “[a]s a result, while the Parties transmitted and took possession

of the physical Hard Drive without BIS authorization, we respectfully ask that the OEE bear in

mind that the data on that Hard Drive, and particularly the data related to the . . . PRMS Falcon,

was in all likelihood never accessed.” Finally, VIAU falsely claimed that BEIJING COMPANY

and COMPANY 1 had fully complied with the Canadian IRD Order, which precluded BEIJING

COMPANY from accessing COMPANY 1’s technology. As VIAU knew at the time of the VSD,

separate from the transfer of U.S. Navy technical data to BEIJING COMPANY through the

transfer of the Hard Drive, VIAU had participated in others transfers of U.S. Navy PRM technical

data to BEIJING COMPANY, which incorporated the U.S. Navy PRM technical data in its

proposal for an SRV for the PLA NAVY.




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       63. Defendant VIAU signed the March 26, 2018 VSD, affirming as follows: “As required

by 15 C.F.R. § 764.5(c)(5), I hereby certify that the foregoing representations are true and correct

to the best of my knowledge and belief.”

       H. After Submitting the VSD Defendant, VIAU Solicited Business from the U.S.
          Navy.
       64. On or about September 5, 2018, Defendant VIAU emailed the U.S. Navy that

Defendant VIAU had reconstituted COMPANY 1, albeit focused on other businesses than

submarine rescue technology, which were sold and to which COMPANY 1 “no longer [had] access

to those products and designs.” Defendant VIAU claimed that the company was 100 percent

Canadian owned, that “there should no longer be any impediments to doing business with the US

Navy . . . .”, and that “I would welcome the opportunity to work together in the future.”



       All in violation of Title 18, United States Code, Section 1001(a)(1).

                                              A TRUE BILL



                                              FOREPERSON


______________________________________
ATTORNEY FOR THE UNITED STATES IN
AND FOR THE DISTRICT OF COLUMBIA




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